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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Securities and Exchange Commission
                                             Plaintiff,
v.                                                           Case No.: 1:19−cv−08454
                                                             Honorable Andrea R. Wood
Todays Growth Consultant Inc., et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 17, 2021:


         MINUTE entry before the Honorable Andrea R. Wood: Telephonic status hearing
held on 11/17/2021. For the reasons stated on the record, the Receiver's unopposed motion
to approve settlement and release agreement with Joliet Catholic Academy [173] and the
Receiver's unopposed motion for extension of the deadline to file seventh interim
application for an order approving and authorizing payment of fees and expenses of
Receiver and her professionals [175] are granted. Enter Order. The Receiver shall file her
seventh interim fee application covering the time period from 7/1/2021 to 9/30/2021 by
1/28/2022. The Receiver's fourth, fifth, and sixth interim application for an order
approving and authorizing payment of fees and expenses of Receiver and her
professionals [174] is taken under advisement. By 12/15/2021, the parties shall meet and
confer and file a joint status report setting forth a summary of the parties' respective views
and objections with respect to the pending fee application. The Receiver shall be
responsible for preparing the status report. Telephonic status hearing set for 1/12/2022 at
11:00 AM. To ensure public access to court proceedings, members of the public and
media may call in to listen to telephonic hearings. The call−in number is (888) 557−8511
and the access code is 3547847. Counsel of record will receive an email 30 minutes prior
to the start of the telephonic hearing with instructions to join the call. Persons granted
remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court−issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Mailed notice (dal, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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